






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00199-CR






Alejandro Loredo, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 06-754-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


		Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  See
Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  Counsel's motion to withdraw
is granted.

		The judgment of conviction is affirmed.



						___________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Affirmed

Filed:   August 18, 2011

Do Not Publish


